Case 2:10-md-02179-CJB-DPC Document 11946-1 Filed 12/09/13 Page 1of1

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

Lobdell P. Brown, III * CIVIL ACTION
a
VS. * NO: 13-2141
BP Exploration & Production, Inc.; BP America * JUDGE BARBIER
Production Company; BP p.Lc.; Halliburton *
Energy Services, Inc.; and Sperry Drilling *
Services, a division of Halliburton Energy *
Services, Inc. * MAGISTRATE SHUSHAN
ORDER

CONSIDERING the foregoing Motion to Substitute Counsel of Record,
IT IS ORDERED that David J. Schexnaydre of the law firm of Pajares & Schexnaydre,
LLC, be and is hereby substituted as counsel of record for plaintiff, Lobdell P. Brown, Il, in lieu

and in place of Robert J. Diliberto and Damon A. Kirin.

New Orleans, Louisiana, this day of ,2013.

UNITED STATES DISTRICT JUDGE
